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                                                                                           FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS

                                                                                           OCT l '7 2024
                                                                                   TAMMY H. DOWNS, CLERK
               IN THE UNITED ST ATES DISTRICT CO~T                                         ;J§tj       DEPCLERK

                   EASTERN DISTRICT OF ARKANSAS
                         CENTRAL DIVISION

FOR AR KIDS                                                                 PLAINTIFF

v.                              Case No. 4:24-cv-00521-KGB

TOWN OF ROSE BUD, ARKANSAS and
SHAWN GORHAM, MAYOR OF ROSE BUD
in this official capacity                                                   DEFENDANTS

                                 MOTION TO DISMISS

        Come now Defendants TOWN OF ROSE BUD, ARKANSAS and SHAWN GORHAM,

MAYOR OF ROSE BUD in this official capacity, by and through their attorneys, Lightle, Raney

& Raney, LLP, by Donald P. Raney, and for their Motion to Dismiss the above styled proceeding

state as follows, to-wit:

        1. That the above styled proceeding was commenced on June 20, 2024, with the Plaintiff

seeking a Temporary Restraining Order to enjoin the enforcement of Town of Rose Bud,

Arkansas, Ordinance No 2024-03which restricted the collection of ballot signatures at a festival

known as Summerfest conducted by Defendant Town of Rose Bud to the confines of booths

withing the festival grounds.

       2. That this Court on June 20, 2024, entered an Order Granting a Temporary Restraining

Order prohibiting the Defendants from enforcing the Ordinance pursuant to Federal Rule of Civil

Procedure 65(b)(2) for a period of 14 days from the June 20 th , 2024, order entry date.
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       3. That Plaintiff through its legal counsel advised the Court via an email on June 27,

2024, to Debra Williams Law Clerk for the Honorable Kristine G. Baker that the Plaintiff did not

intend to move for the extension of the Temporary Restraining Order so said order was not

extended by the Court.

       4. The Defendant Town of Rose Bud, Arkansas, repealed Ordinance 2024-03 by city

council action on October 14, 2024, by adopting Ordinance 2024-04 a copy of said repealing

ordinance being attached hereto as Exhibit "A" to this motion which contained an Emergency

Clause therein making the ordinance effective as of the adoption date.

       5. That the Plaintiff has not sought the extension of the Court Temporary Retraining

Ordinance and the Defendant has now repealed the ordinance in question so this proceeding

should be dismissed.

       Wherefore, Defendants TOWN OF ROSE BUD, ARKANSAS and SHAWN

GORHAM, MAYOR OF ROSE BUD in this official capacity, by and through their attorneys,

Lightle, Raney & Raney, LLP, by Donald P. Raney, request that the above styled proceeding be

dismissed for the reasons set forth herein.

                                              TOWN OF ROSE BUD, ARKANSAS and
                                              SHAWN GORHAM, MAYOR OF ROSE BUD
                                              in this official capacity, Defendants

                                              Lightle, Raney & Raney, LLP
                                              Attorneys at Law
                                              211 West Arch Ave.
                                              Searcy, AR 72143


                                      By_~=--------P._,
                                          Donald P. Raney
                                                                  6,---
                                                                  ______
                                          Ark. State Bar No. 76100
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                            CERTIFICATE OF SERVICE
       I, Donald P. Raney, do hereby certify that I have served a copy of the above and foregoing
pleading upon John C. Williams, Attorney for Plaintiff For AR Kids, by placing a copy of same in
the U. S. Mail, addressed to said attorney John C. Williams Arkansas Civil Liberties Union
Foundation, Inc., 904 W. 2nd Street, Little Rock, AR 72201 or by forwarding a copy to said attorney
via email to John@acluarkansas.org in accordance with Federal Rules of Civil Procedure on this 17th
day of October, 2024.


                                                     Donald P. Raney
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  BEFORE THE CITY COUNCIL OF THE CITY OF ROSE BUD,
                     ARKANSAS

                        ORDINANCE NO. 2024-~
   AN ORDINANCE REPEALING ORDINANCE 2024-03 ADOPTED JUNE 17, 2024,
         DECLARING AN EMERGENCY AND FOR OTHER PURPOSES.


        Whereas, the City Council of the City of Rose Bud, Arkansas, adopted Ordinance 2024-
03 on June 17, 2024, wanting to regulate solicitations by businesses and religious entities and
political entities to a booth or rental spot selected and regulated by the City of Rose Bud,
Arkansas, so such solicitations will not interfere or distract from the purpose of the events
sponsored by the City of Rose Bud, Arkansas, and

      Whereas, the City Council of the City of Rose Bud, Arkansas, now wants to repeal said
Ordinance 2024-03.

NOW THEREFORE BE IT ORDAINED BY THE ROSE BUD CITY COUNCIL:

       Section l: That the City Council of Rose Bud, Arkansas, hereby repeals Ordinance 2024-
03 adopted June 17, 2024.

        Section 2: Emergency Clause-That there is a need repeal Ordinance 2024-03 dealing with
the regulation of solicitations by any entities or persons at any event on the property of the City
of Rose Bud, Arkansas, and therefore it being necessary for the city council to preserve the public
peace, health, safety and welfare of the City of Rose Bud, Arkansas, an emergency is hereby
declared so that this Ordinance shall be in full force and effect form and after its passage.


       PASSED AND ADOPTED Ibis )'-\~y of October, 2 0 L                         ~

                                                         SHA~ GORHAM, MAYOR

ATTEST:

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     B Hlii;~ORDER




                                                                EXHIBIT ''A''
